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                                UNITED STATES DISTRICT COURT

                                         Southern District of California

                                               Office Of The Clerk
                                          333 West Broadway, Suite 420
                                           San Diego, California 92101
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  John Morrill,
  Clerk of Court


                                                   April 24, 2017


  Clerk, U.S. District Court
  District of Northern District of CA



  Re: Allan Rotman, et al. v. Qualcomm Incorporated, Case No. 3:17−cv−00260−GPC−MDD

  Dear Sir or Madam:

  Pursuant to Order transferring the above−entitled action to your District, we are electronically transmitting
  herewith our entire original file.



                                     Sincerely yours,

                                     John Morrill,
                                     Clerk of the Court

                                     By: s/ K. Sellars, Deputy Clerk

  Copy to Attorney for Plaintiffs:
  Copy to Attorney for Defendants:
